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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA F I L E D

 

UNITED STATES OF AMERICA,
Plal`ntl'/?",
v.
AT&T INC., DIRECTV GROUP
HOLDINGS, LLC, and
TIME WARNER INC.,

Defena’ants.

 

 

DEC 2 1 2017

C|erk, U.S. District & Bankruptcy
Courts for the Distn'ct of Co|umbia

Case No. 1:17-cv-02511-RJL

SCHEDULING ORDER

This Court, having considered the motions of the parties for entry of their Proposed

Scheduling Order, and having conducted hearings on December 7 and 21, 2017, enters this

Scheduling Order pursuant to Rule 16 of the Federal Rules of Civil Procedure, and LCvR 16.4:

 

Event Date
Protective Order Entered December 8, 2017
Fact Discovery Begins Upon entry of
Scheduling Order

 

Investigation Materials from Third Parties Production Begins On a Within 10 calendar
Rolling Basis (Based on receipt of Written statement from third days after Protective

party not objecting to disclosure)

Order entered

 

Investigation Materials from Third Parties Production Completed Within 17 calendar
(Except for any with unresolved objections to the Protective Order) days after Protective

Order entered

 

Parties exchange preliminary fact witness lists

Jan. 3, 2018

 

Parties exchange final fact Witness lists

Feb. 2, 2018

 

 

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Event Date
Parties exchange initial expert reports on economic and efficiency Feb. 2, 2018
and/or synergy issues, reserving the right to serve rebuttal reports
pursuant to this Order for any new disclosure contained in the
initial reports.
Close of fact discovery Feb. 16, 2018
Parties to Submit Proposed Trial Procedures Order Feb. 16, 2018
Parties exchange rebuttal reports Feb. 26, 2018
Close of Supplemental Discovery Feb. 28, 2018
Close of expert discovery Mar. 9, 2018
Pretrial motions and briefs (other than Daubert motions) to be filed Mar. 9, 2018
Daubert motions to be filed Mar. 12, 2018
Oppositions to pretrial motions to be filed Mar. 13, 2018
Oppositions to Dauberl motions to be filed Mar. 15, 2018
Parties submit final trial exhibits to Court Mar. 15, 2018
Final pretrial conference To be determined by

the Court

Trial Begins (anticipated 15 days) Mar. 19, 2018

 

Parties submit Proposed Findings of Fact and Conclusions of Law

 

7 calendar days after
trial ends

 

The terms set forth above are as defined in the Case Management Order, entered by the

Court in this case.

1. Calculation of Dates. Unless otherwise specified, days shall be counted pursuant

to Rule 6(a) of the Federal Rules of Civil Procedure.

2. Modification of Scheduling Order. Any party may seek modification of` this

Order for good cause. The Court maintains the right to modify this schedule as is necessary to

address the issues presented in this case and accommodate its obligation to resolve other time-

sensitive legal matters on its docket.

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3. Motions for Extensions. Parties seeking extensions of dates set out in this Order
should seek them in a timely fashion, before the relevant deadline passes.

SO ORDERED.

DATED; /Z/Z/ //7 _ .
/ f / RICHARD .LE N
United States District Judge

